    Case 6:09-cv-00090-C Document 12 Filed 04/01/10                                           Page 1 of 18 PageID 196


                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                        SAN ANGELO DIVISION

 JAMES JONES,                           §
       Plaintiff,                       §
                                        §
 v.                                     §    CIVIL ACTION NO. 6:09-CV-090-C
                                        §
 ANGELO STATE UNIVERSITY,               §
       Defendant.                       §
_________________________________________________________________________________

                      DEFENDANT’S ORIGINAL ANSWER AND AFFIRMATIVE
                     DEFENSES TO PLAINTIFF’S FIRST AMENDED COMPLAINT
_________________________________________________________________________________

TO THE HONORABLE SAM CUMMINGS, UNITED STATES DISTRICT JUDGE:

          Defendant ANGELO STATE UNIVERSITY (“ASU” or “The University”), hereby files its Original

Answer to Plaintiff’s First Amended Complaint with Jury Demand, and in support thereof, would

show this Court the following:

                                                  I.
                                     ORIGINAL ANSWER TO PLAINTIFF’S
                                       FIRST AMENDED COMPLAINT

          For the Court’s benefit, the numbering of this Original Answer and Affirmative Defenses to

Plaintiff’s First Amended Complaint with Jury Demand tracks the numbering system used in the

Plaintiff’s First Amended Complaint.

          I. The Parties.

          1.1        Defendant admits that, at one time, Plaintiff was a resident of San Angelo, Tom Green

County, Texas, but denies that Plaintiff is/was such a resident “at all relevant times to this cause of action.”

          1.2.       Defendant admits the allegations of the first sentence of Paragraph 1.2; Defendant

further admits that it is “authorized” by the laws of the State of Texas and operates as a public


Defendant’s Original Answer and Affirmative Defenses to Plaintiff’s First Amended Complaint with Jury Demand       Page 1
    Case 6:09-cv-00090-C Document 12 Filed 04/01/10                                           Page 2 of 18 PageID 197


university, but denies that it is a “public corporation” and further denies that there is any provision of

the Texas Constitution that specifically “authorizes” Defendant; Defendant is without sufficient

knowledge and/or information to either admit or deny the remaining allegations of Paragraph 1.2,

and must therefore, out of an abundance of caution, deny the same.

          II. Jurisdiction and Venue

          2.1.       Defendant admits that the cited federal statutes confer jurisdiction in this Court over

the claims as pled.

          2.2.       Defendant admits the allegations in Paragraph 2.2 of Plaintiff’s First Amended

Complaint with Jury Demand.

          2.3.       Defendant admits the allegations in Paragraph 2.3 of Plaintiff’s First Amended

Complaint with Jury Demand.

          2.4.       Defendant admits that the Court may, in its discretion, exercise its supplemental

jurisdiction over the state law claims, to the extent such jurisdiction is not otherwise barred.

          2.5.       Defendant admits the allegations in Paragraph 2.5 of Plaintiff’s First Amended

Complaint with Jury Demand.

          2.6.       Defendant admits that a controversy exists between the Parties, but denies there is any

jurisdiction separate and apart from the substantive causes of action set forth in Plaintiff’s First

Amended Complaint, which confer power upon this Court to adjudicate the legality and/or

constitutionality of any rules and/or regulations at issue in this matter.

          III. Procedural Background.

          3.1.       Defendant admits the allegations contained in Paragraph 3.1 of Plaintiff’s First

Amended Complaint with Jury Demand.



Defendant’s Original Answer and Affirmative Defenses to Plaintiff’s First Amended Complaint with Jury Demand       Page 2
    Case 6:09-cv-00090-C Document 12 Filed 04/01/10                                           Page 3 of 18 PageID 198


          3.2.       Defendant admits the allegations in the first sentence of Paragraph 3.2 of Plaintiff’s

First Amended Complaint with Jury Demand and further admits: (1) that the Plaintiff voluntarily

dismissed his entire complaint in his original federal court suit, and (2) that the Plaintiff filed suit in

state court in Travis County Texas; however, Defendant denies that Plaintiff’s claims in state court

were brought entirely “pursuant to state law;” further, Defendant denies that is moved to dismiss “a

majority” of Plaintiff’s claims, specifically noting that Defendant did not move to dismiss Plaintiff’s

Title VII claims at that time.

          3.3.       Defendant admits that it timely removed Plaintiff’s state court lawsuit to the Western

District of Texas, Austin Division, because Plaintiff replead his federal Title VII claim in that state court

lawsuit, thus creating a federal question permitting such removal; further, Defendant admits that it moved

to transfer venue to this Court because the Plaintiff was blatantly forum-shopping and the cause had no

connection whatsoever to either Travis County or the Western District of Texas, Austin Division.

          3.4.       Defendant admits that Judge Sparks heard argument on motions from the Parties and

then entered orders denying Plaintiff’s motion for remand and granting Defendant’s motion to

transfer venue to this Court; Defendant further admits that we are now back before this Court, where

the case should have remained from the beginning; further, with respect to Plaintiff’s Footnote 3,

Defendant denies that the footnote accurately reflects the Defendant’s counsel’s representations to

Judge Sparks, and would assert that counsel stated only that he would not move to dismiss Plaintiff’s

then-pled state law-based claims on the ground that this Court had no jurisdiction since counsel

invoked the Court’s jurisdiction by removing the case to federal court in the first place.

          IV. Factual Background

          4.1.       Defendant admits the allegations contained in Paragraph 4.1 of Plaintiff’s First

Amended Complaint with Jury Demand.

Defendant’s Original Answer and Affirmative Defenses to Plaintiff’s First Amended Complaint with Jury Demand       Page 3
    Case 6:09-cv-00090-C Document 12 Filed 04/01/10                                           Page 4 of 18 PageID 199


          4.2.       Defendant admits all of the allegations contained in Paragraph 4.2 of Plaintiff’s First

Amended Complaint with Jury Demand, except that Defendant denies Plaintiff received “overall

positive faculty and student evaluations” and was “overall visibly active in a broad spectrum of many

extracurricular events at Angelo State.”

          4.3.       Defendant is without sufficient knowledge or information as to the nature and extent

of Plaintiff’s religious beliefs and/or the level of activity to which Plaintiff claims with respect to

those beliefs, and must therefore, out of an abundance of caution, deny the allegations in the first

sentence of Paragraph 4.3 of Plaintiff’s First Amended Complaint with Jury Demand; further,

Defendant denies the allegations in the second sentence of Paragraph 4.3 of Plaintiff’s First

Amended Complaint with Jury Demand.

          4.4.       Defendant is without sufficient knowledge or information as to the Plaintiff’s customs

when beginning a new class, as well as the specifics to which Plaintiff would relate to students;

therefore, Defendants can neither admit nor deny any of the allegations contained within the various

statements in Paragraph 4.4 of Plaintiff’s First Amended Complaint with Jury Demand, and must

therefore, out of an abundance of caution, deny the same.

          4.5.       Defendant is without sufficient knowledge or information as to the Plaintiff’s customs

when beginning a new class, as well as the specifics to which Plaintiff would relate to students;

therefore, Defendant can neither admit nor deny any of the allegations contained within the various

statements in Paragraph 4.5 of Plaintiff’s First Amended Complaint with Jury Demand, and must

therefore, out of an abundance of caution, deny the same, except that Defendant denies that the

“valedictory remarks” identified in Paragraph 4.5 would be appropriate as alleged by Plaintiff.

          4.6.       Defendant admits that McCamant told Plaintiff that Plaintiff was violating Rule 4.71,

that the rule states substantially what Plaintiff claims it says, and that Plaintiff wrote an email

Defendant’s Original Answer and Affirmative Defenses to Plaintiff’s First Amended Complaint with Jury Demand       Page 4
    Case 6:09-cv-00090-C Document 12 Filed 04/01/10                                           Page 5 of 18 PageID 200


requesting additional explanation, but denies that McCamant ever mentioned religion, and denies

that Plaintiff made any statements about his constitutional rights

          4.7.       Defendant admits that Plaintiff sent an email requesting clarification of his violation

of Rule 4.71, that he informed Plaintiff that he would refer the matter to Don Coers, and that Coers

told McCamant that he would discuss the matter with the Texas State University System attorneys,

but denies that he asked for any reasonable accommodation, and that he told Plaintiff that he “relayed

Plaintiff’s statements” to Coers.

          4.8.       Defendant admits the statements contained in the first two sentences of Paragraph 4.8

of Plaintiff’s First Amended Complaint with Jury Demand, but denies the allegations contained in

the third sentence of Paragraph 4.8.

          4.9.       Defendant denies the allegations contained in the first two sentences of Paragraph 4.9

of Plaintiff’s First Amended Complaint with Jury Demand, admits that an email concerning a

conversation between McCamant and Plaintiff about the general subject matter of Rule 4.71 was sent

from McCamant to Coers on or around October 30, 2006, but denies that it “reiterated” the

conversation as recounted by Plaintiff in Paragraph 4.9.

          4.10.      Defendant admits the allegations contained in Paragraph 4.10 of Plaintiff’s First

Amended Complaint with Jury Demand.

          4.11.      Defendant admits that Plaintiff applied for the position of Head of the Computer

Science Department, but is without sufficient knowledge or information to admit or deny the date

upon which that application was submitted, and must therefore deny the same. Further, Defendant

denies that Plaintiff was well qualified for the position. Defendant further denies that Angelo State

asked Plaintiff if he was interested in the position of department head and/or led him to believe the

job was his if he wanted it. Defendant further denies that it failed to give Plaintiff any meaningful

Defendant’s Original Answer and Affirmative Defenses to Plaintiff’s First Amended Complaint with Jury Demand       Page 5
    Case 6:09-cv-00090-C Document 12 Filed 04/01/10                                           Page 6 of 18 PageID 201


consideration when he applied for the department head position. Finally, Defendant is without

sufficient knowledge or information to admit or deny the remaining allegations contained in

Paragraph 4.11 of Plaintiff’s First Amended Complaint with Jury Demand, and must therefore, out of

an abundance of caution, deny the same.

          4.12.      Defendant admits that the person selected was Tim Roden, and that Roden was

younger than Plaintiff. Defendant denies that Roden was “significantly” less experienced and/or less

qualified than Plaintiff for the position. Defendant admits that Plaintiff was 51 years old. Defendant

denies that Roden did not meet minimum qualifications for the position. Defendant denies the last

sentence in Paragraph 4.12 of Plaintiff’s First Amended Complaint with Jury Demand.

          4.13.      Defendant denies the allegations contained in Paragraph 4.13 of Plaintiff’s First

Amended Complaint with Jury Demand.

          4.14.      Defendant admits that Plaintiff asked for, received, and reviewed his personnel file;

however, Defendant denies all other allegations contained in Paragraph 4.14 of Plaintiff’s First

Amended Complaint with Jury Demand.

          4.15.      Defendant admits the allegations contained in Paragraph 4.15 of Plaintiff’s First

Amended Complaint with Jury Demand.

          4.16.      Defendant admits the allegations in the first sentence of Paragraph 4.16 of Plaintiff’s

First Amended Complaint with Jury Demand; but denies the allegations contained in the second

sentence of the paragraph.

          4.17.      Defendant admits the allegations contained in the first sentence of Paragraph 4.17 of

Plaintiff’s First Amended Complaint with Jury Demand.                                      Defendant admits that Plaintiff

complained, but denies that Plaintiff mentioned discrimination. Defendant admits the allegations



Defendant’s Original Answer and Affirmative Defenses to Plaintiff’s First Amended Complaint with Jury Demand         Page 6
    Case 6:09-cv-00090-C Document 12 Filed 04/01/10                                           Page 7 of 18 PageID 202


contained in the third sentence of the Paragraph. Defendant admits that the remaining sentences

quote directly from the referenced letter.

          4.18.      Defendant admits that Roden changed the referenced policy, but is without sufficient

knowledge or information to admit or deny the allegations concerning the date upon which the

change was made, and must therefore out of an abundance of caution, deny the same. Defendant

denies the allegations contained in the second sentence of Paragraph 4.18 of Plaintiff’s First

Amended Complaint with Jury Demand. Defendant admits the allegations contained in the third

sentence of Paragraph 4.18 of Plaintiff’s First Amended Complaint with Jury Demand. Defendant

denies the allegations contained in the fourth and fifth sentences of Paragraph 4.18 of Plaintiff’s First

Amended Complaint with Jury Demand.

          4.19.      Defendant admits the allegations contained in the first sentence of Paragraph 4.19 of

Plaintiff’s First Amended Complaint with Jury Demand. Defendant admits the allegations in the

second sentence of the paragraph concerning the reasons for scoring Plaintiff’s evaluation in the

manner it was scored, but denies that the reasons set forth were a pretext for anything. Defendant

denies the remaining allegations in Paragraph 4.19.

          4.20.      Defendant admits the allegations contained in Paragraph 4.20 of Plaintiff’s First

Amended Complaint with Jury Demand.

          4.21.      Defendant admits the allegations contained in the first sentence of Paragraph 4.21 of

Plaintiff’s First Amended Complaint with Jury Demand. Defendant denies the remaining allegations

contained in the paragraph.

          4.22.      Defendant denies the allegations contained in Paragraph 4.22 of Plaintiff’s First

Amended Complaint with Jury Demand.



Defendant’s Original Answer and Affirmative Defenses to Plaintiff’s First Amended Complaint with Jury Demand       Page 7
    Case 6:09-cv-00090-C Document 12 Filed 04/01/10                                           Page 8 of 18 PageID 203


          4.23.      Defendant admits that Plaintiff was non-reappointed as alleged, but denies that

Plaintiff had a “stellar semester” as alleged. Defendant denies the remaining allegations contained in

Paragraph 4.23 of Plaintiff’s First Amended Complaint with Jury Demand

          4.24.      Defendant admits the allegations contained in the first sentence of Paragraph 4.24 of

Plaintiff’s First Amended Complaint with Jury Demand. Defendant denies the remaining allegations

contained in the paragraph.

          4.25.      Defendant admits that Plaintiff faxed a document purporting to initiate a charge of

discrimination to the EEOC, but denies that the Plaintiff alleged to anyone, particularly to anyone at

Angelo State University in any meaningful way, that Plaintiff believed he had been non-reappointed for

“constitutionally impermissible reasons” as alleged in the firs sentence of Paragraph 4.25 of Plaintiff’s

First Amended Complaint with Jury Demand. Defendant is without sufficient knowledge or information

concerning the date(s) upon which Plaintiff did or did not receive a right-to-sue letter from either the

EEOC or the TWC-CRD, and must therefore, out of an abundance of caution, deny the same.

          4.26.      Defendant admits the allegations contained in the first sentence of Paragraph 4.26 of

Plaintiff’s First Amended Complaint with Jury Demand. Defendant denies the remaining allegations

contained in the paragraph.

          4.27.      Defendant denies the allegations contained in Paragraph 4.27 of Plaintiff’s First

Amended Complaint with Jury Demand.

          V. Causes of Action.

          5.1.       This allegation is prefatory and does not require a response; however, to the extent a

response is required, Defendant is without sufficient knowledge or information to admit or deny the

allegations contained in Paragraph 5.1 of Plaintiff’s First Amended Complaint with Jury Demand,

and therefore, out of an abundance of caution, must deny the same.

Defendant’s Original Answer and Affirmative Defenses to Plaintiff’s First Amended Complaint with Jury Demand       Page 8
    Case 6:09-cv-00090-C Document 12 Filed 04/01/10                                           Page 9 of 18 PageID 204


          A. Count One: Violations of Title VII of the Civil Rights Act of 1964

          5.2.       To the extent necessary, Defendant reasserts its specific admissions and denials of all

matters raised in Paragraphs 1.1-5.1 above.

          5.3.       Defendant admits that Title VII prohibits discrimination and retaliation as alleged, but

denies that Defendant has engaged in any such discriminatory or retaliatory activity; further,

Defendant denies all remaining allegations contained in Paragraph 5.3 of Plaintiff’s First Amended

Complaint with Jury Demand.

          5.4.       Defendant admits that retaliation for exercising rights protected by Title VII is

prohibited by Title VII, but denies all other allegations asserted in Paragraph 5.4 of Plaintiff’s First

Amended Complaint with Jury Demand.

          5.5.       Defendant admits the allegations contained in the first sentence of Paragraph 5.5 of

Plaintiff’s First Amended Complaint with Jury Demand, but denies all other allegations contained in

the paragraph.

          5.6.       Defendant denies the allegations in Paragraph 5.6 of Plaintiff’s First Amended

Complaint with Jury Demand.

          5.7.       Defendant denies the allegations in Paragraph 5.7 of Plaintiff’s First Amended

Complaint with Jury Demand.

          5.8.       Defendant denies the allegations in Paragraph 5.8 of Plaintiff’s First Amended

Complaint with Jury Demand.

          B. Count Two: Violations of Chapter 21 of the Texas Labor Code

          5.9.       This allegation is prefatory and does not require a response; however, to the extent a

response is required, Defendant is without sufficient knowledge or information to admit or deny the



Defendant’s Original Answer and Affirmative Defenses to Plaintiff’s First Amended Complaint with Jury Demand       Page 9
   Case 6:09-cv-00090-C Document 12 Filed 04/01/10                                           Page 10 of 18 PageID 205


allegations contained in Paragraph 5.9 of Plaintiff’s First Amended Complaint with Jury Demand,

and therefore, out of an abundance of caution, must deny the same.

          5.10.      Defendant admits that Chapter 21 of the Texas Labor Code prohibits employers,

including the Defendant, from discriminating and/or retaliating against employees on the basis of

religion and/or age, but denies all remaining allegations in Paragraph 5.10 of Plaintiff’s First

Amended Complaint with Jury Demand.

          5.11.      Defendant denies the allegations in Paragraph 5.11 of Plaintiff’s First Amended

Complaint with Jury Demand.

          5.12.      Defendant denies the allegations in Paragraph 5.12 of Plaintiff’s First Amended

Complaint with Jury Demand.

          5.13.      Defendant admits that the first sentence of Paragraph 5.13 of Plaintiff’s First

Amended Complaint with Jury Demand generally states truthful conclusions about the scope of

Chapter 21 of the Texas Labor Code; however, Defendant denies all remaining allegations in

Paragraph 5.13 of Plaintiff’s First Amended Complaint with Jury Demand.

          5.14.      Defendant denies the allegations in Paragraph 5.14 of Plaintiff’s First Amended

Complaint with Jury Demand.

          5.15.      Defendant denies the allegations in Paragraph 5.15 of Plaintiff’s First Amended

Complaint with Jury Demand.

          C. Count Three: Violations of the Texas Religious Freedom Restoration Act.

          5.16.      This allegation is prefatory and does not require a response; however, to the extent a

response is required, Defendant is without sufficient knowledge or information to admit or deny the

allegations contained in Paragraph 5.16 of Plaintiff’s First Amended Complaint with Jury Demand,

and therefore, out of an abundance of caution, must deny the same.

Defendant’s Original Answer and Affirmative Defenses to Plaintiff’s First Amended Complaint with Jury Demand      Page 10
   Case 6:09-cv-00090-C Document 12 Filed 04/01/10                                           Page 11 of 18 PageID 206


          5.17.      Defendant denies the allegations in Paragraph 5.17 of Plaintiff’s First Amended

Complaint with Jury Demand.

          5.18.      Defendant denies the allegations in Paragraph 5.18 of Plaintiff’s First Amended

Complaint with Jury Demand.

          D. Count Four: Violations of the Texas Constitution.

          5.19.      This allegation is prefatory and does not require a response; however, to the extent a

response is required, Defendant is without sufficient knowledge or information to admit or deny the

allegations contained in Paragraph 5.19 of Plaintiff’s First Amended Complaint with Jury Demand,

and therefore, out of an abundance of caution, must deny the same.

          5.20.      Defendant denies the allegations in Paragraph 5.20 of Plaintiff’s First Amended

Complaint with Jury Demand.

          5.21.      Defendant denies the allegations in Paragraph 5.21 of Plaintiff’s First Amended

Complaint with Jury Demand.

          5.22.      Defendant denies the allegations in Paragraph 5.22 of Plaintiff’s First Amended

Complaint with Jury Demand.

          5.23.      Defendant denies the allegations in Paragraph 5.23 of Plaintiff’s First Amended

Complaint with Jury Demand.

          5.24.      Defendant denies the allegations in Paragraph 5.24 of Plaintiff’s First Amended

Complaint with Jury Demand.

          5.25.      Defendant denies the allegations in Paragraph 5.25 of Plaintiff’s First Amended

Complaint with Jury Demand.

          5.26.      Defendant denies the allegations in Paragraph 5.26 of Plaintiff’s First Amended

Complaint with Jury Demand.

Defendant’s Original Answer and Affirmative Defenses to Plaintiff’s First Amended Complaint with Jury Demand      Page 11
   Case 6:09-cv-00090-C Document 12 Filed 04/01/10                                           Page 12 of 18 PageID 207


          5.27.      Defendant denies the allegations in Paragraph 5.27 of Plaintiff’s First Amended

Complaint with Jury Demand.

          E. Count Five: Breach of Contract

          5.28.      This allegation is prefatory and does not require a response; however, to the extent a

response is required, Defendant is without sufficient knowledge or information to admit or deny the

allegations contained in Paragraph 5.28 of Plaintiff’s First Amended Complaint with Jury Demand,

and therefore, out of an abundance of caution, must deny the same.

          5.29.      Defendant denies the allegations in Paragraph 5.29 of Plaintiff’s First Amended

Complaint with Jury Demand.

          5.30.      Defendant denies that Texas Tech University System’s rules entitle the Plaintiff, or

any employee to the relief specified in Paragraph 5.30 of Plaintiff’s First Amended Complaint with

Jury Demand absent the filing of a formal appeal by the aggrieved employee, a procedure with which

Plaintiff did not comply.

          5.31.      Defendant denies the allegations in Paragraph 5.31 of Plaintiff’s First Amended

Complaint with Jury Demand.

          5.32.      Defendant denies the allegations in Paragraph 5.32 of Plaintiff’s First Amended

Complaint with Jury Demand.

          5.33.      Defendant denies the allegations in Paragraph 5.34 of Plaintiff’s First Amended

Complaint with Jury Demand.

          5.34.      Defendant denies the allegations in Paragraph 5.34 of Plaintiff’s First Amended

Complaint with Jury Demand.




Defendant’s Original Answer and Affirmative Defenses to Plaintiff’s First Amended Complaint with Jury Demand      Page 12
   Case 6:09-cv-00090-C Document 12 Filed 04/01/10                                           Page 13 of 18 PageID 208


          F: Count Six: Federal Declaratory Judgment Act Claim

          5.35.      This allegation is prefatory and does not require a response; however, to the extent a

response is required, Defendant is without sufficient knowledge or information to admit or deny the

allegations contained in Paragraph 5.35 of Plaintiff’s First Amended Complaint with Jury Demand,

and therefore, out of an abundance of caution, must deny the same.

          5.36.      Defendant denies the allegations in Paragraph 5.36 of Plaintiff’s First Amended

Complaint with Jury Demand.

          5.37.      Defendant denies the allegations in Paragraph 5.37 of Plaintiff’s First Amended

Complaint with Jury Demand.

          VI.        Requested Relief

          6.1.       Defendant denies that Plaintiff has suffered any damages of any kind as a result of any

actions taken by the Defendant; and further, Defendant denies all of the remaining allegations in

Paragraph 6.1 of Plaintiff’s First Amended Complaint with Jury Demand.

          6.2.       Defendant is without sufficient knowledge or information to admit or deny the

manner in which Plaintiff attempts to sue Defendant and/or allege claims for damages against the

Defendant, to either admit or deny the allegations contained in Paragraph 6.2 of Plaintiff’s First

Amended Complaint with Jury Demand, and must therefore, out of an abundance of caution, deny

the same; further, to the extent Plaintiff claims that Defendant’s conduct violated Title VII or any

statute, Defendant specifically denies such allegations in this paragraph.

          6.3.       Defendant is without sufficient knowledge or information to admit or deny the

manner in which Plaintiff attempts to sue Defendant and/or allege claims for damages against the

Defendant, to either admit or deny the allegations contained in Paragraph 6.3 of Plaintiff’s First

Amended Complaint with Jury Demand, and must therefore, out of an abundance of caution, deny

Defendant’s Original Answer and Affirmative Defenses to Plaintiff’s First Amended Complaint with Jury Demand      Page 13
   Case 6:09-cv-00090-C Document 12 Filed 04/01/10                                           Page 14 of 18 PageID 209


the same; further, to the extent Plaintiff claims that Defendant’s conduct violated Chapter 21 of the

Texas Labor Code or any statute, Defendant specifically denies such allegations in this paragraph.

          6.4.       Defendant is without sufficient knowledge or information to admit or deny the manner in

which Plaintiff attempts to sue Defendant and/or allege claims for damages against the Defendant, to

either admit or deny the allegations contained in Paragraph 6.4 of Plaintiff’s First Amended Complaint

with Jury Demand, and must therefore, out of an abundance of caution, deny the same; further, to the

extent Plaintiff claims that Defendant’s conduct violated the Texas Religious Freedom Restoration Act or

any statute, Defendant specifically denies such allegations in this paragraph.

          6.5.       Defendant is without sufficient knowledge or information to admit or deny the

manner in which Plaintiff attempts to sue Defendant and/or allege claims for damages and/or any

other relief against the Defendant, to either admit or deny the allegations contained in Paragraph 6.5

of Plaintiff’s First Amended Complaint with Jury Demand, and must therefore, out of an abundance

of caution, deny the same; further, to the extent Plaintiff claims that Defendant’s conduct violated the

Texas Constitution, Defendant specifically denies such allegations in this paragraph.

          6.6.       Defendant is without sufficient knowledge or information to admit or deny the manner in

which Plaintiff attempts to sue Defendant and/or allege claims for damages and/or any other relief against

the Defendant, to either admit or deny the allegations contained in Paragraph 6.6 of Plaintiff’s First

Amended Complaint with Jury Demand, and must therefore, out of an abundance of caution, deny the

same; further, to the extent Plaintiff claims that Defendant’s conduct breached some contract between the

Plaintiff and Defendant, Defendant specifically denies such allegations in this paragraph.

          6.7.       Defendant is without sufficient knowledge or information to admit or deny the

manner in which Plaintiff attempts to sue Defendant and/or allege claims for declaratory relief

against the Defendant, to either admit or deny the allegations contained in Paragraph 6.6 of

Defendant’s Original Answer and Affirmative Defenses to Plaintiff’s First Amended Complaint with Jury Demand      Page 14
   Case 6:09-cv-00090-C Document 12 Filed 04/01/10                                           Page 15 of 18 PageID 210


Plaintiff’s First Amended Complaint with Jury Demand, and must therefore, out of an abundance of

caution, deny the same; further, to the extent Plaintiff claims that Defendant’s conduct gives rise to a

claim for declaratory and/or injunctive relief under the Federal Declaratory Judgment Act, Defendant

specifically denies such allegations in this paragraph.

          6.8.       Defendant denies that Plaintiff is entitled to any of the relief requested in Paragraph

6.8 of Plaintiff’s First Amended Complaint with Jury Demand, and denies that any such requested

relief is warranted under this lawsuit; further, Defendant denies that Plaintiff has suffered any injury,

irreparable or otherwise in the absence of the relief requested by the Paragraph, as the relief

requested does not even pertain to the Plaintiff, who is no longer employed by the Defendant; finally,

Defendant denies that Plaintiff is without any adequate remedy at law, as Plaintiff has already pled at

least FOUR causes of action claiming damages, which by all estimates of reasoned thought,

constitutes an adequate legal remedy.

                                                        II.
                                               AFFIRMATIVE DEFENSES

          Pleading further, Defendants respectfully assert the following affirmative defenses to each

claim to which the may apply:

          1.         Defendant asserts that Plaintiff has failed to exhaust his administrative remedies with

respect to all claims premised on events occurring on or before June 13, 2008 under Chapter 21 of the

Texas Labor Code (the Texas Commission on Human Rights Act) because Plaintiff failed to timely file a

charge of discrimination within 180 days of the date upon which he knew or should have known that he

had been subjected to any adverse employment action(s) giving rise to those claims;

          2.         Defendant asserts that Plaintiff has failed to exhaust his administrative remedies with

respect to all claims premised on events occurring on or before February 14, 2008 under Title VII of


Defendant’s Original Answer and Affirmative Defenses to Plaintiff’s First Amended Complaint with Jury Demand      Page 15
   Case 6:09-cv-00090-C Document 12 Filed 04/01/10                                           Page 16 of 18 PageID 211


the Civil Rights Act of 1964, as amended, because Plaintiff failed to timely file a charge of

discrimination within 300 days of the date upon which he knew or should have known that he had

been subjected to any adverse employment action(s) giving rise to those claims;

          3.         Defendant asserts that Plaintiff’s claims under Title VII of the Civil Rights Act of

1964, as amended, are barred in total by the statute of limitations because Plaintiff has failed to bring

those claims in this Court within 90 days of the date upon which the Plaintiff received his right-to-

sue letter from the EEOC;

          4.         Defendant asserts that it took the complained of actions against the Plaintiff for

legitimate, non-discriminatory, non-retaliatory reasons;

          5.         Defendant asserts that it would have taken the actions complained of regardless of

whether or not any allegedly discriminatory and/or retaliatory reasons may have existed;

          6.         Defendant asserts that Plaintiff’s claim under the Texas Religious Freedom

Restoration Act is barred because the Plaintiff has failed to exhaust all statutory prerequisites to suit;

in particular, Plaintiff has failed to provide statutory notice sixty days before bringing this claim, as

required by TEX. CIV. PRAC. & REM. Code § 110.006;

          7.         Defendant asserts that Plaintiff’s claim under the Texas Religious Freedom Restoration

Act is barred by the statute of limitations because Plaintiff has failed to bring that claim within one year of

the date upon which Plaintiff knew or should have known of the alleged substantial burden on his free

exercise of religion as provided in Tex. Civ. Prac. & Rem. Code § 110.007;

          8.         Defendant asserts that, to the extent Plaintiff sues the Defendant for money damages

for alleged violations of the Texas Constitution, those claims are specifically barred as a matter of

law because there is no mechanism for suit for damages against a state entity. City of Beaumont v.

Bouillion, 896 S.W.2d 143 (Tex.1995);

Defendant’s Original Answer and Affirmative Defenses to Plaintiff’s First Amended Complaint with Jury Demand      Page 16
   Case 6:09-cv-00090-C Document 12 Filed 04/01/10                                           Page 17 of 18 PageID 212


          9.         Defendant asserts Plaintiff has failed to state a cognizable claim for attorneys’ fees

under Chapter 38 of the Texas Civil Practice and Remedies Code because that statute permits

recovery of attorneys’ fees only against “individuals” or “corporations,” not state agencies. State of

Texas v. Bodisch, 775 S.W.2d 73 (Tex.App.—Austin 1989)(State and its agencies are not individuals

or corporations as contemplated by CPRC Ch. 38);

          10.        Defendant asserts that Plaintiff’s Federal Declaratory Judgment Act claims are barred

as a matter of law because they are subsumed by the substantive causes of action pled;

          11.        Defendant asserts that Plaintiff’s Federal Declaratory Judgment Act claims pertaining

to alleged incidents occurring before August 11, 2007, are barred by the statute of limitations;

          12.        Defendant reserves the right to plead additional affirmative defenses as they become

known to the Defendant.

                                                      III.
                                             CONCLUSION AND PRAYER

          FOR THE FOREGOING REASONS, Defendant respectfully prays that that the Court enter

judgment for the Defendant, against the Plaintiff, and grant Defendant such affirmative relief as the

Court may deem just and appropriate, including costs of court, attorneys’ fees, and such other further

relief the Court may deem appropriate.

                                                                           Respectfully submitted,

                                                                           GREG ABBOTT
                                                                           Texas Attorney General

                                                                           C. ANDREW WEBER
                                                                           First Assistant Attorney General

                                                                           DAVID S. MORALES
                                                                           Deputy Attorney General for Civil Litigation



Defendant’s Original Answer and Affirmative Defenses to Plaintiff’s First Amended Complaint with Jury Demand       Page 17
   Case 6:09-cv-00090-C Document 12 Filed 04/01/10                                           Page 18 of 18 PageID 213


                                                                           ROBERT B. O’KEEFE
                                                                           Chief, General Litigation Division



                                                                           /s/ Daniel C. Perkins
                                                                           DANIEL C. PERKINS
                                                                           Attorney-in-Charge
                                                                           Texas Bar No. 24010301
                                                                           Assistant Attorney General
                                                                           Texas Attorney General's Office
                                                                           General Litigation Division
                                                                           P.O. Box 12548, Capitol Station
                                                                           Austin, Texas 78711-2548
                                                                           (512) 463-2120
                                                                           (512) 320-0667 FAX
                                                                           dan.perkins@oag.state.tx.us

                                                                           ATTORNEYS FOR DEFENDANT



                                              CERTIFICATE OF SERVICE

        I certify that a copy of the above Defendant’s Original Answer and Affirmative Defenses to
Plaintiff’s First Amended Complaint with Jury Demand was served by the following manner, on the
1st day of April 2010, upon the following individuals at the listed addresses:

          Frank W. Hill                                                        X       Via CM/ECF email
                                                                                       Via Certified Mail Return Receipt Requested
          Frank Gilstrap                                                               Via Facsimile (817) 861-4685
          Michael Y. Kim                                                               Via Regular Mail
          HILL GILSTRAP
          1400 W Abram St
          Arlington , TX 76013

          ATTORNEYS FOR PLAINTIFF




                                                                           /s/ Daniel C. Perkins
                                                                           DANIEL C. PERKINS
                                                                           Assistant Attorney General
                                                                           General Litigation Division


Defendant’s Original Answer and Affirmative Defenses to Plaintiff’s First Amended Complaint with Jury Demand                 Page 18
